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       CENTER FOR DISABILITY ACCESS
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8
                               UNITED STATES DISTRICT COURT
9
                              NORTHERN DISTRICT OF CALIFORNIA
10
11
         Brian Whitaker                           Case No.
12
                 Plaintiff,
13
           v.                                     Complaint For Damages And
                                                  Injunctive Relief For
14
         Brender Commercial Land                  Violations Of: Americans With
         Holding LLC, a California Limited        Disabilities Act; Unruh Civil
15
         Liability Company;                       Rights Act
16
         Brender Lodging LLC, a
17       California Limited Liability
         Company;
18
                Defendants,
19
       Plaintiff Brian Whitaker complains of Brender Commercial Land Holding
20
     LLC, a California Limited Liability Company; Brender Lodging LLC, a
21
     California Limited Liability Company; (“Defendants”), and alleges as follows:
22
23
       PARTIES:
24
       1. Plaintiff is a California resident with physical disabilities. He is
25
     substantially limited in his ability to walk. He suffers from a C-4 spinal cord
26
     injury. He is a quadriplegic. He uses a wheelchair for mobility.
27
       2. Defendant Brender Commercial Land Holding LLC, a California
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1    Limited Liability Company owns the Coronet Motel located at 2455 El
2    Camino Real, Palo Alto, California currently and at all times relevant to this
3    complaint. Defendant Brender Lodging LLC, a California Limited Liability
4    Company operates the Hotel currently and at all times relevant to this
5    complaint.
6      3. Plaintiff does not know the true names of Defendants, their business
7    capacities, their ownership connection to the property and business, or their
8    relative responsibilities in causing the access violations herein complained of,
9    and alleges a joint venture and common enterprise by all such Defendants.
10   Plaintiff is informed and believes that each of the Defendants herein, is
11   responsible in some capacity for the events herein alleged, or is a necessary
12   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
13   the true names, capacities, connections, and responsibilities of other
14   Defendants are ascertained.
15
16     JURISDICTION:
17     4. The Court has subject matter jurisdiction over the action pursuant to 28
18   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
19   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
20     5. Pursuant to supplemental jurisdiction, an attendant and related cause
21   of action, arising from the same nucleus of operative facts and arising out of
22   the same transactions, is also brought under California’s Unruh Civil Rights
23   Act, which act expressly incorporates the Americans with Disabilities Act.
24     6. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
25   founded on the fact that the real property which is the subject of this action is
26   located in this district and that Plaintiff's cause of action arose in this district.
27
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1    PRELIMINARY STATEMENT
2      7. This is a lawsuit challenging the reservation policies and practices of a
3    place of lodging. Plaintiff does not know if any physical or architectural
4    barriers exist at the hotel and, therefore, is not claiming that that the hotel has
5    violated any construction-related accessibility standard. Instead, this is about
6    the lack of information provided on the hotel’s reservation website that would
7    permit plaintiff to determine if there are rooms that would work for him.
8      8. After decades of research and findings, Congress found that there was
9    a “serious and pervasive social problem” in America: the “discriminatory
10   effects” of communication barriers to persons with disability. The data was
11   clear and embarrassing. Persons with disabilities were unable to “fully
12   participate in all aspects of society,” occupying “an inferior status in our
13   society,” often for no other reason than businesses, including hotels and
14   motels, failed to provide information to disabled travelers. Thus, Congress
15   decided “to invoke the sweep of congressional authority” and issue a “national
16   mandate for the elimination of discrimination against individuals with
17   disabilities,” and to finally ensure that persons with disabilities have “equality
18   of opportunity, full participation, independent living” and self-sufficiency.
19     9. As part of that effort, Congress passed detailed and comprehensive
20   regulations about the design of hotels and motels. But, as importantly,
21   Congress recognized that the physical accessibility of a hotel or motel means
22   little if the 61 million adults living in America with disabilities are unable to
23   determine which hotels/motels are accessible and to reserve them. Thus,
24   there is a legal mandate to provide a certain level of information to disabled
25   travelers.
26     10. But despite the rules and regulations regarding reservation procedures,
27   a 2019 industry article noted that: “the hospitality sector has largely
28   overlooked the importance of promoting accessible features to travelers.”


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1      11. These issues are of paramount important. Persons with severe
2    disabilities have modified their own residences to accommodate their unique
3    needs and to ameliorate their physical limitations. But persons with disabilities
4    are never more vulnerable than when leaving their own residences and having
5    to travel and stay at unknown places of lodging. They must be able to ascertain
6    whether those places work for them.
7
8      FACTUAL ALLEGATIONS:
9      12. Plaintiff planned on making a trip in January of 2021 to the Palo Alto,
10   California, area.
11     13. He chose the Coronet Motel located at 2455 El Camino Real, Palo Alto,
12   California because this hotel was at a desirable price and location.
13     14. Due to Plaintiff’s condition, he is unable to, or seriously challenged in
14   his ability to, stand, ambulate, reach objects, transfer from his chair to other
15   equipment, and maneuver around fixed objects.
16     15. Thus, Plaintiff needs an accessible guestroom and he needs to be given
17   information about accessible features in hotel rooms so that he can confidently
18   book those rooms and travel independently and safely.
19     16. On January 18, 2021, while sitting bodily in California, Plaintiff went to
20   the Coronet Motel reservation website at http://www.coronetmotel.net/
21   seeking to book an accessible room at the location.
22     17. This website reservation system is owned and operated by the
23   Defendants and permits guests to book rooms at Coronet Motel.
24     18. Plaintiff found that there was insufficient information about the
25   accessible features in the “accessible rooms” at the Hotel to permit him to
26   assess independently whether a given hotel room would work for him.
27     19. For example, Plaintiff cannot transfer from his wheelchair to a toilet
28   unless there are grab bars at the toilet to facilitate that transfer. But the Hotel


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1    reservation website does not provide any information about the existence of
2    grab bars for the accessible guestroom toilets. This is critical information for
3    the plaintiff.
4      20. As another example, Plaintiff has had tremendous difficulty with using
5    lavatory sinks in the past because sinks were cabinet style sinks or had low
6    hanging aprons that did not provide knee clearance for a wheelchair user to
7    pull up and under or, alternatively, where the plumbing underneath the sink
8    was not wrapped with insulation to protect against burning contact to his
9    knees. Here, the Hotel reservation website provides no information about the
10   accessibility of the sinks in the accessible guestroom.
11     21. As another example, Plaintiff needs doorways that are at least 32 inches
12   wide so he can get his wheelchair through. Without this feature, Plaintiff risks
13   getting stuck in a doorway, or being prevented from passing through the
14   doorway at all. The website does not mention that the hotel room has this
15   feature.
16     22. Plaintiff does not need an exhaustive list of accessibility features.
17   Plaintiff does not need an accessibility survey to determine of a room works for
18   him. Plaintiff, like the vast majority of wheelchair users, simply needs a
19   handful of features to be identified and described with a modest level of detail:
20      • For the doors, Plaintiff simply needs to know if he can get into the hotel
21          room and into the bathroom. This is a problem that has created
22          tremendous problems for the Plaintiff in the past. A simple statement
23          that the hotel room entrance and interior doors provide at least 32
24          inches of clearance is enough to provide Plaintiff this critical piece of
25          information about whether he can fit his wheelchair into the hotel
26          rooms.
27      • For the beds themselves, the only thing Plaintiff needs to know (and the
28          only thing regulated by the ADA Standards) is whether he can actually


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1         get to (and into) the bed, i.e., that there is at least 30 inches width on the
2         side of the bed so his wheelchair can get up next to the bed for transfer.
3         This is critical information because Plaintiff cannot walk and needs to
4         pull his wheelchair alongside the bed.
5      • For the desk where Plaintiff will eat and work, Plaintiff simply needs to
6         know that it has sufficient knee and toe clearance so that he can use it.
7         A simple statement like “the desk provides knee and toe clearance that
8         is at least 27 inches high, 30 inches wide, and runs at least 17 inches
9         deep” is more than sufficient. Because Plaintiff is confined to a
10        wheelchair, he needs to know this information to determine if the desk
11        is accessible to and useable by him.
12     • For the restroom toilet, Plaintiff only needs to know two things that
13        determine if he can transfer to and use the toilet; (1) that the toilet seat
14        height is between 17-19 inches (as required by the ADA Standards) and
15        (2) that it has the two required grab bars to facilitate transfer.
16     • For the restroom sink, the Plaintiff two things that will determine
17        whether he can use the sink from his wheelchair: (1) can he safely get his
18        knees under the toilet? To wit: does the sink provide the knee clearance
19        (27 inches high, 30 inches wide, 17 inches deep) and is any plumbing
20        under the sink wrapped with insulation to protect against burning
21        contact? The second thing is whether the lavatory mirror is mounted at
22        a lowered height so that wheelchair users can sue it. A simple statement
23        like: “the lavatory sink provides knee clearance of at least 30 inches
24        wide, 27 inches tall and 17 inches deep, all of the under-sink plumbing
25        is wrapped, and the lowest reflective edge of the mirror is no more than
26        40 inches high” would suffice.
27     • Finally, for the shower, Plaintiff needs to know only a handful of things:
28        (1) what type of shower it is (transfer, standard roll-in, or alternate roll-


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1          in), (2) whether it has an in-shower seat; (3) that there are grab bars
2          mounted on the walls; (4) that there is a detachable hand-held shower
3          wand for washing himself and (5) that the wall mounted accessories and
4          equipment are all within 48 inches height.
5      23. This small list of items are the bare necessities that Plaintiff must know
6    to make an independent assessment of whether the “accessible” hotel room
7    works for him. These things comprise the basics of what information is
8    reasonably necessary for Plaintiff (or any wheelchair user) to assess
9    independently whether a given hotel or guest room meets his or her
10   accessibility needs.
11     24. Other accessibility requirements such as slopes of surfaces, whether the
12   hand-held shower wand has a non-positive shut off valve, the temperature
13   regulator, the tensile strength and rotational design of grab bars, and so many
14   more minute and technical requirements under the ADA are beyond what is a
15   reasonable level of detail and Plaintiff does not expect or demand that such
16   information is provided.
17     25. But because the Defendants have failed to identify and describe the core
18   accessibility features in enough detail to reasonably permit individuals with
19   disabilities to assess independently whether a given hotel or guest room meets
20   his accessibility needs, the Defendants fail to comply with its ADA obligations
21   and the result is that the Plaintiff is unable to engage in an online booking of
22   the hotel room with any confidence or knowledge about whether the room will
23   actually work for him due to his disability.
24     26. This lack of information created difficulty for the Plaintiff and the idea
25   of trying to book this room -- essentially ignorant about its accessibility --
26   caused difficulty and discomfort for the Plaintiff and deterred him from
27   booking a room at the Hotel
28     27. Plaintiff travels frequently and extensively, not only for non-litigation


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1    reasons but also because he is an ADA tester and actively engaged in finding
2    law breaking businesses and hauling them before the courts to be penalized
3    and forced to comply with the law.
4      28. As he has in the past, Plaintiff will continue to travel to the Palo Alto area
5    on a regular and ongoing basis and will patronize this Hotel once it has been
6    represented to him that the Defendant has changed its policies to comply with
7    the law and to determine if the Hotel is physically accessible as well as
8    complying with required reservation procedures. Plaintiff will, therefore, be
9    discriminated against again, i.e., be denied his lawfully entitled access, unless
10   and until the Defendant is forced to comply with the law.
11     29. Plaintiff has reason and motivation to use the Defendant’s Hotel
12   reservation system and to stay at the Defendant’s Hotel in the future. Among
13   his reasons and motivations are to assess these policies and facilities for
14   compliance with the ADA and to see his lawsuit through to successful
15   conclusion that will redound to the benefit of himself and all other similarly
16   situated. Thus, Plaintiff routinely revisits and uses the facilities and
17   accommodations of places he has sued to confirm compliance and to enjoy
18   standing to effectuate the relief promised by the ADA.
19
20   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
21   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
22   Defendants.) (42 U.S.C. section 12101, et seq.)
23     30. Plaintiff re-pleads and incorporates by reference, as if fully set forth
24   again herein, the allegations contained in all prior paragraphs of this
25   complaint.
26     31. Under the ADA, it is an act of discrimination to fail to make reasonable
27   modifications in policies, practices, or procedures when such modifications
28   are necessary to afford goods, services, facilities, privileges advantages or


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1    accommodations to person with disabilities unless the entity can demonstrate
2    that taking such steps would fundamentally alter the nature of the those goods,
3    services, facilities, privileges advantages or accommodations. See 42 U.S.C. §
4    12182(B)(2)(A)(ii).
5      32. Specifically, with respect to reservations by places of lodging, a
6    defendant must ensure that its reservation system, including reservations
7    made by “any means,” including by third parties, shall:
8                    a. Ensure that individuals with disabilities can make
9                          reservations for accessible guest rooms during the same
10                         hours and in the same manner as individuals who do not
11                         need accessible rooms;
12                   b. Identify and describe accessible features in the hotels and
13                         guest rooms offered through its reservations service in
14                         enough detail to reasonably permit individuals with
15                         disabilities to assess independently whether a given hotel
16                         or guest room meets his or her accessibility needs; and
17                   c. Reserve, upon request, accessible guest rooms or specific
18                         types of guest rooms and ensure that the guest rooms
19                         requested are blocked and removed from all reservations
20                         systems.
21             See 28 C.F.R. § 36.302(e).
22     33. Here, the defendant failed to modify its reservation policies and
23   procedures to ensure that it identified and described accessible features in the
24   hotels and guest rooms in enough detail to reasonably permit individuals with
25   disabilities to assess independently whether a given hotel or guest room meets
26   his or her accessibility needs and failed to ensure that individuals with
27   disabilities can make reservations for accessible guest rooms during the same
28   hours and in the same manner as individuals who do not need accessible


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1    rooms.
2
3    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
4    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
5    Code § 51-53.)
6      34. Plaintiff repleads and incorporates by reference, as if fully set forth
7    again herein, the allegations contained in all prior paragraphs of this
8    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
9    that persons with disabilities are entitled to full and equal accommodations,
10   advantages, facilities, privileges, or services in all business establishment of
11   every kind whatsoever within the jurisdiction of the State of California. Cal.
12   Civ. Code §51(b).
13     35. The Unruh Act provides that a violation of the ADA is a violation of the
14   Unruh Act. Cal. Civ. Code, § 51(f).
15     36. Defendants’ acts and omissions, as herein alleged, have violated the
16   Unruh Act by, inter alia, failing to comply with the ADA with respect to its
17   reservation policies and practices.
18     37. Because the violation of the Unruh Civil Rights Act resulted in difficulty
19   and discomfort for the plaintiff, the defendants are also each responsible for
20   statutory damages, i.e., a civil penalty. See Civ. Code § 52(a).
21
22   PRAYER:
23          Wherefore, Plaintiff prays that this Court award damages and provide
24   relief as follows:
25       1. For injunctive relief, compelling Defendants to comply with the
26   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
27   plaintiff is not invoking section 55 of the California Civil Code and is not
28   seeking injunctive relief under the Disabled Persons Act at all.


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1       2. Damages under the Unruh Civil Rights Act, which provides for actual
2    damages and a statutory minimum of $4,000 for each offense.
3       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
4    to 42 U.S.C. § 12205; and Cal. Civ. Code § 52(a).
5
6
7    Dated: February 11, 2021              CENTER FOR DISABILTY ACCESS
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9
10
11                                         By:
12                                         Russell Handy, Esq.
                                           Attorneys for Plaintiff
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     Complaint
